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                           EXHIBIT A
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION


ZENA RAYFORD,                               )
                                            )
     Plaintiff,                             )           Case No. 08-2144
                                            )
v.                                          )
                                            )
THE STANDARD INSURANCE COMPANY,             )
                                            )
     Defendant.                             )


 ORDER GRANTING DEFENDANT’S MOTIONS FOR SUMMARY JUDGMENT AND TO
         DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION


      Before the Court are Cross Motions for Summary Judgment

filed by Plaintiff Zena Rayford and Defendant Standard Insurance

Company     (“Standard    Insurance”).           (See    Dkt.    Nos.    28,     32.)

Standard Insurance has also filed a Motion to Dismiss for Lack

of Subject Matter Jurisdiction that will ripen if the Court

grants    its   Motion   for   Summary      Judgment.           (See    Defendant’s

Memorandum in Support of Its Motion for Summary Judgment at 5-6)

(“Def.’s Memo”); see also Fed. R. Civ. P. 12(b)(1).                     Because the

Plaintiff    now    concedes   that   the       Employment   Retirement        Income

Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001 et seq., does

not apply to her claim and Plaintiff cannot meet the amount-in-

controversy requirement for diversity jurisdiction, the Court

GRANTS the Defendant’s Motion for Summary Judgment and DISMISSES

Plaintiff’s suit for lack of subject matter jurisdiction.
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       I.       SUMMARY JUDGMENT IS APPROPRIATE ON ERISA CLAIM

       Rayford filed suit against Standard Insurance on February

29, 2008, alleging that Standard Insurance wrongfully denied her

application for long-term disability benefits.                          (Compl. ¶¶ 9-

12.)     Rayford asserted that her claim arose under ERISA.                          (Id. ¶

4 (citing ERISA § 502(a)).)             However, Rayford now concedes that

her claim cannot arise under ERISA because she is an employee of

the    Shelby      County   Government,    and        ERISA    specifically         exempts

“governmental        plans.”        (Plaintiff’s        Response       to     Defendant’s

Motion for Summary Judgment, Dkt. No. 38, at 2) (“Pl.’s Resp.”);

see also 29 U.S.C. § 1003(b)(1).

       ERISA defines a governmental plan as “a plan established or

maintained for its employees by the Government of the United

States      [or]    by   the    government       of     any    State     or       political

subdivision thereof . . . .”                   29 U.S.C. § 1002(32) (emphasis

added).         Counties    are     “political       subdivisions       of     the    State

within in the meaning of section 3(32) of ERISA.”                                 Weiner v.

Klais & Co., 108 F.3d 86, 90 (6th Cir. 1997).                           Because Shelby

County’s     disability        insurance   plan       is     exempted       from    ERISA’s

ambit by the statute’s plain language, the Court GRANTS Standard

Insurance’s        Motion   for     Summary     Judgment       on   Rayford’s         ERISA

claim.      See Cincom Sys. v. Novelis Corp., 581 F.3d 431, 435 (6th

Cir.    2009)      (Where   “only    issues     of     law    remain,       [a]    case   is

especially suited for summary disposition.”).

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        II.     THIS COURT LACKS JURISDICTION

        Because    claims     involving        governmental      plans    do   not   fall

under     ERISA,      the     Court      does     not     have       federal     question

jurisdiction.         See Weiner, 108 F.3d at 90.                Rayford alleges an

additional source of jurisdiction for the Court to adjudicate

her coverage dispute:            diversity.       See 28 U.S.C. § 1332(a).             To

come within the Court’s diversity jurisdiction, 1) no plaintiff

may be a citizen of the same state as any defendant; and 2) the

amount    in    controversy      must     be    greater       than   $75,000.00.       28

U.S.C. § 1332(a)(1); Strawbridge v. Curtiss, 7 U.S. (3 Cranch)

267,     267    (1806)      (establishing        the    requirement       of   complete

diversity).        Rayford is a citizen of Tennessee, and Defendant is

a “foreign corporation” whose principal place of business is

Oregon.         (Compl.     ¶¶   1-2.)         The     suit    meets     the   statute’s

requirement of complete diversity.                    Standard Insurance asserts,

however,       that   Rayford     cannot       meet     the    amount-in-controversy

requirement, thus depriving the Court of jurisdiction.                           (Def.’s

Memo at 5-6.)

        When considering an objection to jurisdiction based on the

amount     in     controversy,     a    court     should       consider    the    amount

alleged in the complaint and “should not dismiss a complaint for

lack of subject matter jurisdiction ‘unless it appears to a

legal certainty that the plaintiff in good faith cannot claim

the jurisdictional amount.’”              Mass. Cas. Ins. Co. v. Harmon, 88

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F.3d 415, 416 (6th Cir. 1996) (quoting Klepper v. First Am.

Bank, 916 F.2d 337, 340 (6th Cir. 1990)).                             Rayford’s Complaint

alleges      that    the   amount       in    controversy           “exceeds   one    hundred

thousand      dollars,”        easily    meeting            the    $75,000   jurisdictional

threshold.          (Compl. ¶ 3.)            However, Rayford acknowledges that

her damages calculation includes money Standard Insurance may

owe for “future benefits paid under the long-term part of her

policy.”      (Pl.’s Resp. at 2.)

       The   Sixth      Circuit    follows            the    longstanding      federal   rule

that, when calculating the amount in controversy for disability

benefit provisions, a court may only consider potential future

benefit payments when the validity of the policy is in question.

Mass. Cas. Ins., 88 F.3d at 416.                             When the question is “the

extent of the insurer’s obligation with respect to disability

benefits and not the validity of the policy,” future benefit

payments do not count toward the amount in controversy.                               See id.

at 416-17 (citation omitted); Keck v. Fid. & Cas. Co., 359 F.2d

840,   841    (7th      Cir.    1966)    (“Future            benefits    payable      under    a

contract      of     insurance     may       be       used    to    compute    the    sum     in

controversy for jurisdictional purposes only when the validity

of the insurance policy itself, and not merely the presence or

absence      of      conditions         measuring            the     insurer's       liability

thereunder,        is   the    matter    in       dispute.”         (citations   omitted)).

Standard Insurance does not dispute the underlying validity of

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Rayford’s policy.          It only disputes whether Rayford meets the

policy’s criteria for receiving additional disability benefits.

(See Answer and Affirmative Defenses to the Complaint, Dkt. No.

12, ¶ 5 (admitting that Rayford has a valid disability insurance

policy issued by Standard Insurance).)                  Therefore, the Court can

only     consider   the     amount       of       benefits    that    allegedly      are

currently due Rayford in calculating the amount in controversy.

Weiner, 88 F.3d at 416-17; Brogan v. United States Specialty

Ins. Co., 607 F. Supp. 2d 833, 835 (W.D. Ky. 2009).

        The    Complaint     alleges          that    Standard       Insurance      paid

Rayford’s disability benefits through January 2005.                          (Compl. ¶

6.)     It is undisputed that the amount of the monthly disability

benefit is $1,078.80.         (See Pl.’s Resp. at 2; Def.’s Memo at 2.)

Even if the Court were to calculate the amount in controversy by

taking    into   account     all    of    the      payments   allegedly      due    from

February 2005 until the present date of March 2010, Standard

would    owe   Rayford     only    $66,885.601,       $8,114.412      less   that    the

jurisdictional requirement.3             Rayford, therefore, has failed to

meet the requirements of diversity jurisdiction; and the court

must DISMISS her Complaint.              Cf. Brogan, 607 F. Supp. 2d at 835

(remanding suit to state court).

1
  62 months x $1,078.80 per month
2
  $75,000.01 – 66,885.60
3
  Looking to the date on which Rayford filed suit, only 37 months had elapsed.
Thus, the actual amount in controversy on the date Rayford sought to invoke
the Court’s jurisdiction was only $39,915.60. (37 months x $1,078.80 per
month)

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       III.    CONCLUSION

       For the foregoing reasons, the Court GRANTS the Defendant’s

Motion for Summary Judgment on Plaintiff’s ERISA claim and finds

that   it     lacks    subject   matter       jurisdiction   because   Plaintiff

cannot meet the amount-in-controversy requirement for diversity

jurisdiction.         The Court, therefore, DISMISSES Plaintiff’s suit.

              So ordered this 10th day of March, 2010.



                                     s/ Samuel H. Mays, Jr.
                                     SAMUEL H. MAYS, JR.
                                     UNITED STATES DISTRICT JUDGE




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